    Case 4:18-cr-00087-ALM-KPJ Document 150 Filed 03/05/19 Page 1 of 2 PageID #: 1116
                           IN UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                                 SHERMAN DIVISION

                                            DATE: 3/5/2019

DISTRICT JUDGE                                         COURT REPORTER: Jan Mason

Amos L. Mazzant, III                                   COURTROOM DEPUTY: Lori Stover
  USA vs. LAURA JORDAN, MARK JORDAN                    4:18CR87


  ATTORNEYS FOR GOVERNMENT                                 ATTORNEYS FOR DEFENDANTS

  Chris Eason, Glen Jackson, Maureen Smith, Bradley        Jeff Kearney, Dan Cogdell, Dennis Hester, Reagan
  Visosky, attorneys; Andrew Walton, Bill Messer,          Wynn, attorneys; Laura Jordan, Mark Jordan, Jordan
  Garin Reetz                                              Ray

On this day, came the parties by their attorneys and the following proceedings were held in Sherman, TX:

 TIME:       MINUTES: JURY TRIAL - DAY 16
 9:14 am     Court in session. Jury is seated.

 9:16 am     Mr. Eason presents closing argument on behalf of the Government.

 11:16 am    Court in recess.

 11:35 am    Court again in session. Jury is seated.

 11:37 am    Mr. Wynn presents closing argument on behalf of Laura Jordan.

 11:51 am    Bench conference.

 11:52 am    Mr. Wynn continues with closing argument.

 12:22 pm    Slight break in closing argument to change out technical equipment.

 12:24 pm    Mr. Kearney presents closing argument on behalf of Laura Jordan.

 1:02 pm     Court in recess for lunch until 2:05 pm. Jury is excused.

 2:07 pm     Court is again in session. Jury is seated. Mr. Cogdell present closing arguments on behalf of

             Mark Jordan.
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    PAGE 2 - PROCEEDINGS CONTINUED: JURY TRIAL DAY 16



TIME:     MINUTES: JURY TRIAL - DAY 16
3:36 pm   Court in recess for afternoon break.

3:52 pm   Court again session. Jury seated. Mr. Eason presents final closing arguments for the
          Government.
4:47 pm   The Court instructs the jury.

5:22 pm   Jury will select a foreperson tonight and then will be released for the day. Court is in recess.

5:23 pm   Court adjourned for the day.




                                                  DAVID O'TOOLE, CLERK

                                                  BY:      Lori Stover
                                                          Courtroom Deputy Clerk
